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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        *

              v.                                 *   Case No. 22-015-APM

STEWART RHODES, et. al.                          *

                                         *   *       *   *    *

                    DEFENDANT’S MOTION TO CONTINUE TRIAL

       Roberto Minuta, by and through counsel, Alfred Guillaume III, and on behalf of all

defendants, moves this Honorable Court to continue the July 11, 2022, trial date, until

September 26, 2022. The grounds for this relief are as follows:

   1. On January 27, 2021, the government filed an indictment in United States v. Caldwell,

       et. al., 21-028-APM.

   2. The government filed a series of superseding indictments in 21-028-APM, adding

       most of the defendants in the above captioned case to the Caldwell indictment.

   3. On January 12, 2022, the government filed an indictment in the instant case, United

       States v. Rhodes et. al., charging defendant Stewart Rhodes and Edward Vallejo, and

       adding a group of defendants from the Caldwell indictment.

   4. The seventeen-count Rhodes indictment added a new charge, an alleged violation of

       18 U.S.C. §2384, Seditious Conspiracy, as to all defendants.

   5. The government has been diligent in its disclosure of discovery, having produced

       numerous terabytes of discovery, which contain tens of thousands of videos and

       documents. Additionally, the government has uploaded 24, 261 videos to

       Evidence.com, and 34,095 documents and videos to the Relativity discovery

       platform. The government continues to make disclosures on a rolling basis.


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6. Shortly after the Rhodes indictment was unsealed, defense counsel began meeting

   weekly to work together, share resources and information.

7. Indexing, organizing, and searching through the discovery has proven to be a

   herculean task for all defense counsel, whether court-appointed or privately

   retained. Much of the discovery provided by the government to date is relevant to

   the Rhodes indictment, and not generic in nature.

8. On March 18, 2022, defense counsel in the Rhodes case convened and agreed that a

   continuance of the trial date would be in each of their respective client’s best

   interest.

9. Defense counsel acknowledges the court’s previously stated desire to bring this case

   to trial in an expedient fashion. However, defense counsel respectfully suggests that

   the ends of justice would best be served if defense counsel were given additional

   time to review the evidence to help coordinate defense experts and witnesses and

   generally prepare for trial.

10. Defense counsel acknowledges that the request to continue the trial date may

   impact the court’s scheduling order (ECF 64), but respectfully suggests that the

   Court rule on the motion for continuance at the April status conference, after having

   heard argument from both the government and defense counsel.

11. On March 18, 2022, undersigned counsel notified the government that it would be

   seeking a request of the currently scheduled trial date.




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       WHEREFORE, defendant Roberto Minuta, on behalf of and with the consent of all

defendants, respectfully requests that the trial in this matter be continued until September

26, 2022.




                                                           Respectfully submitted,

                                                   ________________________
                                                   Alfred Guillaume III, #MD0085
                                                   Law Offices of Alfred Guillaume III, LLC
                                                   1350 Connecticut Ave. NW, Suite 308
                                                   Washington, D.C. 20036

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 19th day of March 2022, a copy of the foregoing
   Motion was served electronically to all parties of record, including to the Office of the
   United States Attorney for the District of Columbia.


                          _______________________________________________
                              Alfred Guillaume III




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